                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION



MILDRED W. BURK,

               Plaintiff,                         Civil Action No. 11-CV-00398-JTM

v.

PORTFOLIO RECOVERY
ASSOCIATES, LLC,

               Defendant.


                                NOTICE OF SETTLEMENT


       COMES NOW Plaintiff by and through her attorney J. Mark Meinhardt and for her

Notice of Settlement, hereby states as follows:

1.     The Plaintiff and the Defendant have reached a settlement.

2.     The Parties will file a Stipulation of Dismissal with Prejudice with each party to pay

       his or its own attorney’s fees and costs once the settlement documents have been

       executed by the parties and delivered to all counsel and the Plaintiff has received

       the settlement funds. The parties expect this to happen within the next two weeks.



Dated: June 1, 2011.

 s/ J. Mark Meinhardt
J. Mark Meinhardt, Esq.
4707 College Blvd., Suite 100
Leawood, KS 66211
(913) 451-9797
Attorney for the Plaintiff




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